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1    DINA L. SANTOS, Bar #204200
     A Professional Law Corp.
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     REGINALD DODSON
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )     No. 11-458 GEB
12                                   )
                    Plaintiff,       )
13                                   )     STIPULATION AND ORDER VACATING
          v.                         )     DATE, CONTINUING CASE, AND
14                                   )     EXCLUDING TIME
     REGINALD DODSON, et al.         )
15                  Defendants.      )
                                     )     Date: February 22, 2013
16   _______________________________ )     Time: 9:00 a.m.
                                     )     Judge: Hon. BURRELL
17
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney MICHAEL BECKWITH, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant REGINALD DODSON; Attorney Clyde Blackman,
21
     Counsel for BUENA MARSHALL; Attorney James Reilly, Counsel for DEBORAH
22
     LOUDERMILK; Attorney J. Toney, Counsel for KADESTA HARRIS, that the
23
     status conference scheduled for January 18, 2013, be vacated and the
24
     matter be continued to this Court's criminal calendar on February 22,
25
     2013, at 9:00 a.m, for further status and possible changes of plea.
26
          This continuance is requested by the defense in order to permit
27
     further client consultation and further negotiations with the
28
             Case 2:11-cr-00458-GEB Document 61 Filed 01/18/13 Page 2 of 3


1    prosecution.    Counsel for the defendant’s continue to review the
2    voluminous discovery, conduct investigation, and prepare the respective
3    defendant’s defense preparation.
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5
6          IT IS FURTHER STIPULATED that time for trial under the Speedy
7    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
8    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
9    ends of justice served in granting the continuance and allowing the
10   defendant further time to prepare outweigh the best interests of the
11   public and the defendant in a speedy trial.
12         The Court is advised that all counsel have conferred about this
13   request, that they have agreed to the February 22, 2013 date, and that
14   all Counsel have authorized Ms. Santos to sign this stipulation on
15   their   behalf.
16         IT IS SO STIPULATED.
17
18   Dated: January 17, 2013                   /S/ Dina L. Santos
                                              DINA L. SANTOS
19                                            Attorney for Defendant
                                              Reginald Dodson
20
21
     Dated: January 17, 2013                   /S/ Clyde Blackman
22                                            CLYDE BLACKMAN
                                              Attorney for Defendant
23                                            Buena Marshall
24   Dated: January 17, 2013                   /S/ James Reilly
                                              JAMES REILLY
25                                            Attorney for Defendant
                                              Deborah Loudermilk
26
     Dated: January 17, 2013                   /S/ J. Toney
27                                            J. Toney
                                              Attorney for Defendant
28                                            Kadesta Harris


     Stipulation and Order                    2
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1
2    Dated: January 17, 2013                   /S/ Michael Beckwith
                                               MICHAEL BECKWITH
3                                              Assistant United States Attorney
                                               Attorney for Plaintiff
4
5                                         O R D E R
6          IT IS SO ORDERED.
7    Dated:    January 17, 2013
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9                                        GARLAND E. BURRELL, JR.
10                                       Senior United States District Judge

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     Stipulation and Order                     3
